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                                                                 FILED: December 27, 2024

                             UNITED STATES COURT OF APPEALS
                                 FOR THE FOURTH CIRCUIT

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                                             No. 24-2214
                                        (1:23-cv-02699-RDB)
                                       ___________________

        STUDENTS FOR FAIR ADMISSIONS, INC.

                    Plaintiff – Appellant

        v.

        THE UNITED STATES NAVAL ACADEMY; THE UNITED STATES
        DEPARTMENT OF DEFENSE; LLOYD AUSTIN, in his official capacity as
        Secretary of Defense; CARLOS DEL TORO, in his official capacity as Secretary of
        the Navy; BRUCE LATTA, in his official capacity as Dean of Admissions for the
        United States Naval Academy; REAR ADMIRAL FRED KACHER, in his official
        capacity as Acting Superintendent of the United States Naval Academy

                    Defendants - Appellees

                                      ___________________

                                            ORDER
                                       ___________________

              The court grants an extension of the briefing schedule as follows:

              Opening brief and Joint appendix due: 02/20/2025

              Response brief due: 03/24/2025

              Any reply brief: 21 days from service of response brief.

                                               For the Court--By Direction

                                               /s/ Nwamaka Anowi, Clerk
